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Case 1:03-cv-00785-MBH Document 235-15 Filed 12/01/17 Pagelof1

WAVERLY SHORES

SECTION 8, TWP 24N, R6E, W.M.
KING COUNTY, WASHINGTON

SCALE: I"=100' DESCRIPTION
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ENGINEER'S CERTIFICATE

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